          Case 1:09-cr-00298-AWI Document 38 Filed 12/17/09 Page 1 of 1


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6                 IN THE UNITED STATES DISTRICT COURT FOR THE

7                          EASTERN DISTRICT OF CALIFORNIA

8

9    UNITED STATES OF AMERICA,          )       No. CR-F-09-298 OWW
                                        )
10                                      )       ORDER SCHEDULING IN CAMERA
                                        )       HEARING RE REPRESENTATION OF
11                       Plaintiff,     )       DEFENDANT DONALD MONACO
                                        )
12               vs.                    )
                                        )
13                                      )
     DONALD MONACO,                     )
14                                      )
                                        )
15                       Defendant.     )
                                        )
16                                      )

17         An in camera hearing will be conducted on Monday, January 4,

18   2009 at 9:00 a.m. to address issues raised by Defendant Donald

19   Monaco concerning his legal representation in a letter to the

20   Court received on December 8, 2009. A copy of Defendant’s letter

21   will be forwarded to Defendant’s counsel, Roger Litman.

22   IT IS SO ORDERED.

23   Dated:   December 16, 2009             /s/ Oliver W. Wanger
     668554                            UNITED STATES DISTRICT JUDGE
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